Case:19-10286-TBM Doc#:16 Filed:02/01/19                 Entered:02/01/19 10:10:35 Page1 of 3



                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLORADO

In re:                                    )
                                          )
11380 SMITH ROAD, LLC,                    )     Case No. 19-10286(TBM)
EIN: XX-XXXXXXX,                          )     Chapter 7
                                          )
        Debtor.                           )
                                          )
_____________________________________________________________________________

                          AMENDED CERTIFICATE OF SERVICE


        I certify that on February 1, 2019, I served a complete copy via first class mail of: (i) 11380
East Smith RD Investments, LLC’s, Motion to Dismiss Involuntary Bankruptcy Case (the
“Motion”); and (ii) LBR 9013-1.1 Amended Notice of Motion (the “Notice”), on all parties
identified in the Debtor’s Creditor’s Matrix as of February 1, 2019, in the pending Chapter 11 Case
of the Debtor (Case No. 18-10965(TBM)) in order to give all of the Debtor’s creditors and parties
in interest the best notice possible of the Motion and Notice, and in compliance with the Federal
Rules of Bankruptcy Procedure and the Court’s Local Rules. See Exhibit 1.

Additionally, I have served the Motion and Notice via first class mail on:

Aaron A. Garber
999 18th Street, Ste. 1230
Denver, CO 80202
Counsel to the Debtor in this Involuntary Case

Duncan Barber
7979 E. Tufts Avenue, Ste. 1600
Denver, CO 80237
Counsel to the Petitioning Creditor in this Involuntary Case

Mid America Plastic Systems
c/o Tim Henzel
1510 Jade Rd
Columbia Missouri 80237
Petitioning Creditor

11380 Smith RD LLC
c/o Mr. Louis Hard
11380 Smith Road
Aurora, CO 80010
Debtor


4811-1215-3990.1
4811-1215-3990.1
Case:19-10286-TBM Doc#:16 Filed:02/01/19   Entered:02/01/19 10:10:35 Page2 of 3




United States Trustee
Byron G. Rogers Federal Building
1961 Stout Street, Ste. 12-200
Denver, CO 80294
United States Trustee


                                               s/ Timothy M. Swanson




4811-1215-3990.1
4811-1215-3990.1
Label Matrix forCase:19-10286-TBM
                  local noticing  Doc#:16   Filed:02/01/19
                                      11380 E. Smith Rd Investments,Entered:02/01/19
                                                                     LLC             10:10:35
                                                                                     11380          Page3
                                                                                           East Smith        of 3 LLC
                                                                                                      RD Investments,
1082-1                                Kresher Capital                                333 SE 2nd Avenue, Suite 3588
Case 18-10965-TBM                     3050 Aventura Blvd., 3rd Floor                 Miami, FL 33131-2183
District of Colorado                  Miami, FL 33180-3112
Denver
Fri Feb 1 08:20:12 MST 2019
11380 SMITH RD LLC                    Adams County Treasurer                         Robert Samuel Boughner
11380 Smith Road                      PO Box 869                                     Byron G. Rogers Federal Building
Aurora, CO 80010-1406                 Brighton, CO 80601-0869                        1961 Stout St.
                                                                                     Ste. 12-200
                                                                                     Denver, CO 80294-6004

Douglas W Brown                                      CBRE, Inc.                                          Colorado Department Of Revenue
2000 S. Colorado Blvd.                               8390 E. Crescent Parkway                            1375 Sherman St.
Tower Two Ste., 700                                  Suite 300                                           Room 504
Denver, CO 80222-7900                                Greenwood Village, CO 80111-2813                    Attention Bankruptcy Unit
                                                                                                         Denver CO 80261-3000

                                                     Henzel, Tim                                          IRS
                                                     1510 Jade Road                                       PO Box 7346
                                                     Columbia, MO 65201-1702                              Philadelphia PA 19101-7346



                                                     Louis Hard                                           Merlin Law Group, P.A.
                                                     7585 S. Biscay Street                                999 18th St.
                                                     Aurora, CO 80016-1804                                Ste. 3000
                                                                                                          Denver, CO 80202-2449


Daniel J. Morse                                      Owners Insurance Company                            Securities and Exchange Commission
308 W. 21st St.                                      Division of Insurance                               Central Regional Office
Ste. 203                                             1560 Broadway                                       1961 Stout St.
Cheyenne, WY 82001-3669                              Denver, CO 80202-4942                               Ste. 1700
                                                                                                         Denver CO 80294-1700

Securities and Exchange Commission                   Springer & Steinberg, P.C.
Midwest Regional Office                              1600 Broadway
175 W. Jackson Blvd.                                 Ste. 1200
Ste. 900                                             Denver, CO 80202-4920
Chicago IL 60604-2815

US Trustee                                           Jeffrey Weinman                                      Weinman & Associates, P.C.
Byron G. Rogers Federal Building                     730 17th St.                                         730 17th St Ste 240
1961 Stout St.                                       Ste. 240                                             Denver, CO 80202-3506
Ste. 12-200                                          Denver, CO 80202-3506
Denver, CO 80294-6004

Xcel Energy
P.O. Box 9477
Minneapolis, MN 55484-9477




                                     Addresses marked (c) above for the following entity/entities were corrected
                                          as required by the USPS Locatable Address Conversion System (LACS).
                                                                                                                       EXHIBIT 1
